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                          D E C L A R AT I O N   OF   ADAM   ISACSON


       I, Adam Isacson, declare as follows:

       1. I am over 18 and have personal knowledge of the facts described herein.

       2. I am the Director for Defense Oversight at the Washington Office on Latin

America ("WOLA"), a nonprofit research and advocacy organization based in Washington, D.C.,

that is committed to advancing human rights in the Americas. Since 2011, a significant part of

my work has been focused on border security in the United States. I have visited the U.S.

Mexico border approximately 20 times. Together with the Border Security and Migration

program at WOLA, I have published dozens of reports, memos, and multimedia projects about

the security efforts of U.S. agencies at the border and the resulting human impact. I earned a

B.A. in Social Science from Hampshire College and an M.A. in International Relations from

Yale University.

       3. The number of migrants coming to the U.S.-Mexico border is far lower today than

in recent years.' The number of migrants apprehended by U.S. Border Patrol officials at the

U.S.-Mexico border in fiscal year 2017 is the lowest annual number since fiscal year 1972.^ In

fiscal year 2017, the average U.S. Border Patrol agent apprehended only 18 migrants along the




' See, e.g., Linda Qiu, Border Crossings Have Been Declining for Years, Despite Claims of a
'Crisis of Illegal Immigration,' New York Times, June 20, 2018,
https://www.nytimes.eom/2018/06/20/us/politics/fact-check-trump-border-crossings-declining-
.html; U.S. Customs and Border Protection, Southwest Border Migration FY2018,
https://www.cbp.gov/newsroom/stats/sw-border-migration (last accessed Nov. 8, 2018).
^ U.S. Border Patrol, Southwest Border Sectors,
https://www.cbp.gOv/sites/default/files/assets/documents/2017-
Dec/BP%20Southwest%20Border%20Sector%20Apps%20FY1960%20-%20FY2017.pdf(last
accessed Nov. 8, 2018).
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U.S.-Mexico border all year, or one migrant every 20 days.^ In fiscal year 2018, the average

Border Patrol agent apprehended only 23 migrants along the U.S.-Mexico border all year, or one

migrant every 16 days.

       4. In fiscal year 2018, Border Patrol apprehended 1.25 million fewer people at the

U.S.-Mexico border than it did in fiscal year 2000.'^ Whereas federal agents apprehended

between 71,000 and 220,000 migrants each month in fiscal year 2000, the figures are far lower,

ranging from 25,000 to 40,000 people per month, in fiscal year 2018.^

       5. According to CBP's own estimates, the number of migrants who evade

apprehension at the U.S.-Mexico border has also been shrinking significantly.^

       6. Even though fewer people overall are arriving at the U.S.-Mexico border than in

the past, CBP's budget is now twice what it was in 2000. Whereas the Border Patrol's budget in




^ M; U.S. Border Patrol, Border Patrol Agent Nationwide Staffing by Fiscal Year,
https://www.cbp.gov/sites/default/files/assets/documents/2017-Dec/BP%20Staffmg%20F Y1992-
FY2017.pdf (last accessed Nov. 8, 2018).
^ U.S. Customs and Border Protection, Southwest Border Migration FY2018, supra note 1; Shaw
Drake & Edgar Saldivar, Trump Administration is Illegally Turning Away Asylum Seekers,
American Civil Liberties Union (October 30, 2018), https://www.aclu.org/blog/immigrants-
rights/trump-administration-illegally-tuming-away-asylum-seekers.
^ U.S. Border Patrol Monthly Apprehensions (FY2000-FY2017) (Dec. 12, 2017)
https://www.cbp.gOv/document/stats/us-border-patrol-monthly-apprehensions-fy-2000-fy-2017;
U.S. Customs and Border Protection, Southwest Border Migration FY2018, supra note 1.
^ Adam Isacson, What 2017's Migration Statistics Tell Us About Border Security, Washington
Office on Latin America (Dec. 12, 2017), https://www.wola.org/analysis/2017s-migration-
statistics-tell-us-border-security/; Efforts by DHS to Estimate Southwest Border Security
between Ports of Entry, Office of Immigration Statistics (Sept. 2017),
https://www.dhs.gov/sites/default/files/publications/17_0914_estimates-of-border-security.pdf.
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2000 was $1,055 billion, its budget in 2016 was $3,801 billion.'^ Even adjusted for inflation, this

2016 budget is more than twice the 2000 budget.^

       7. CBP's staffing has also increased. The number of Border Patrol agents at the

U.S.-Mexico border is almost double the number in 2000.^ There were 16,605 Border Patrol

agents at the southwest border in fiscal year 2017, compared to 8,580 agents in fiscal year 2000,

when the number of apprehensions was four times higher. Nationwide, there were 19,437

Border Patrol agents in fiscal year 2017, compared with 9,212 in fiscal year 2000.'°

       8. On January 25, 2017, President Trump directed the Department of Homeland

Security ("DHS") to hire an additional 15,000 law enforcement officers." However, according

to the DHS Office of Inspector General, CBP was unable to provide complete data to

demonstrate that there was an operational need or deployment strategy for additional agents and

officers.'^ In the end. Congress only approved fiscal year 2018 funding for 328 new CBP agents

and 70 new Immigration and Customs Enforcement agents.'^

       9. The Interim Final Rule at issue in this case refers to a caravan of noncitizens,


primarily from Central America, attempting to journey to the United States.The caravan took



^ American Immigration Council, The Cost of Immigration Enforcement and Border Security,
https://www.americanimmigrationcouncil.org/sites/default/files/research/the_cost_of_immigratio
n_enforcement_and_border_security.pdf (last accessed Nov. 8, 2018).
® See CPI Inflation Calculator, https:/Mata.bls.gov/cgi-bin/cpicalc.pl? (last accessed Nov. 8,
2018).
° U.S. Border Patrol, Border Patrol Agent Nationwide Staffing by Fiscal Year, supra note 3.
'° Id. \ see also Isacson, supra note 6.
" Exec. Order No. 13767, 82 FR 8793, Jan. 25, 2017; Exec. Order No. 13768, 82 FR 8799, Jan.

25, 2017.
   Special Report: Challenges Facing DHS in Its Attempt to Hire 15,000 Border Patrol Agents
and Immigration Officers, Office of Inspector General, (July 27, 2017),
https://www.oig.dhs.gov/sites/default/files/assets/2017/OIG-l 7-98-SR-Jul 17.pdf.
  164 Cong. Rec. H2548, H2550-51 (daily ed. Mar. 22, 2018),
https://www.congress.gov/crec/2018/03/22/CREC-2018-03-22-bk2.pdf.
  Interim Final Rule at 8, 53.
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roughly four weeks to make it from its starting point in Honduras to Mexico City. Based on the

timeline of their progress to date, it will lake the caravan at least another three weeks, and likely

longer, to reach the United States.

        10. Drawing on lessons from the last caravan to journey to the United States from

Central America in April 2018, I estimate that only 15 to 20 percent of the current caravan's

members will make it to the U.S.-Mexico border, and that most of those who do will seek asylum

at a port of entry.

        1 hereby declare under the penalty of perjury pursuant to the laws of the United States

that the above is true and correct to the best of my knowledge.




                                                  Adam Isacson
                                                  Executed this 9th day of November, 2018
